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                         IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS
                                      WESTERN DIVISION

UNITED STATES OF AMERICA                                                                      PLAINTIFF

v.                                      NO. 4:06CR00407-03 JLH

JEREMY TREMAYNE MCEWEN                                                                     DEFENDANT

                                                 ORDER

        The Court conducted a hearing on Thursday, September 8, 2011, to address the pending motion to

revoke supervised release of defendant Jeremy Tremayne McEwen. Assistant United States Attorney Linda

Lipe was present for the government. The defendant appeared in person with his attorney, Assistant Federal

Public Defender Justin Eisele, standing in for Assistant Federal Public Defender Molly Sullivan. United

States Probation Officer Michelle Sims was also present.

        Upon inquiry from the Court, the defendant did not contest the allegations contained in the motion

to revoke. Following statements from counsel and the defendant, the Court found that the motion to revoke

should be denied, and instead determined that defendant’s current conditions of supervised release should

be modified. Document #71.

        IT IS THEREFORE ORDERED that defendant Jeremy Tremayne McEwen’s conditions of

supervised release are hereby modified to include the following:

•       Placement in a residential reentry facility for a term of six (6) months.

•       Defendant will remain in the custody of the United States Marshal until bed space becomes available
        at the assigned residential reentry facility.

     All other conditions of supervised release remain unchanged and in full force and effect as previously

imposed.

        IT IS SO ORDERED this 8th day of September, 2011.



                                                          J. LEON HOLMES
                                                          UNITED STATES DISTRICT JUDGE
